          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                        CRIMINAL NO. 1:00CR6-4


UNITED STATES OF AMERICA                  )
                                          )
                                          )
                 VS.                      )            ORDER
                                          )
                                          )
TAMMY MARIE LOGAN                         )
                                          )


     THIS MATTER is before the Court on the Defendant’s request for

sentence modification. The motion is denied.

     Although the Court understands the hardships Defendant is enduring

due to her medical condition and the other circumstances related in her

motion, the Court has no authority or jurisdiction to modify or reduce her

term of imprisonment for those reasons.

     IT IS, THEREFORE, ORDERED that the Defendant’s request for

sentence modification is DENIED.      Signed: December 5, 2006




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